       Case 5:15-cv-02207-MHH Document 155 Filed 10/29/18 Page 1 of 4            FILED
                                                                        2018 Oct-29 PM 04:51
                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

GEMSTONE FOODS, LLC et al.,           }
                                      }
       Plaintiffs,                    }
                                      }
v.                                    }         Case No.: 5:15-cv-2207-MHH
                                      }
AAA FOODS ENTERPRISES,                }
INC.; et al.,                         }
                                      }
     Defendants.                      }



                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

MICHAEL ENSLEY, et al.,               }
                                      }
       Plaintiffs,                    }
                                      }
v.                                    }      Case No.: 5:15-cv-01179-MHH
                                      }
BEN O. TURNAGE, et al.,               }
                                      }
     Defendants.                      }


 PLAINTIFFS’ MOTION TO STRIKE AND/OR DISALLOW AMENDED
ANSWER AND COUNTERCLAIMS OR, ALTERNATIVELY, TO DISMISS
            COUNTERCLAIMS UNDER RULE 12(b)(6)
        Case 5:15-cv-02207-MHH Document 155 Filed 10/29/18 Page 2 of 4



       COME NOW Gemstone Foods, LLC, and RCF, LLC, (“Plaintiffs”), through

counsel, and file their Motion to Strike and/or Disallow Amended Answer and

Counterclaim or, Alternatively, to Dismiss Counterclaims under Rule 12(b)(6):

       1.1    This Court should strike and/or disallow Defendants’ Amended Answer

and Counterclaims because Defendants failed to seek leave under Federal Rule of

Civil Procedure 15(a)(2) to amend their Answer and Counterclaims.          Defendants

also unduly delayed, waiting years before amending their Amended Answer and

Counterclaims.

       1.2    Even assuming this Court allows Defendants to assert new amended

counterclaims at this stage of the litigation and without filing a motion to amend,

several of Defendants’ counterclaims (including their counterclaim for abuse of

process; Wester’s claims for breach of contract and fraudulent inducement; and

Carr’s claims for open account, account stated, quantum meruit, and infliction of

emotional distress) are deficient as a matter of law and thus also are barred by the

doctrine of futility.

       1.3    Finally, Defendants’ counterclaims are meant solely to harass

Plaintiffs, including Ben Turnage, and, therefore, should be struck under Federal

Rule of Civil Procedure 12(f).

       1.4    Plaintiffs incorporate by reference the arguments and authority set forth

in Plaintiffs’ Memorandum in Support of Motion to Strike and/or Disallow



                                           2
       Case 5:15-cv-02207-MHH Document 155 Filed 10/29/18 Page 3 of 4



Defendants’ Amended Answer and Counterclaims or, Alternatively, to Dismiss

Counterclaims under Rule 12(b)(6).

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request

that this Court grants Plaintiff’s Motion to Strike and/or Disallow Defendant’s

Amended Answer and Counterclaims or, Alternatively, Motion to Dismiss

Defendants’ Counterclaims under Rule 12(b)(6).

      Respectfully submitted, this the 29th day of October, 2018.


                                              /s/ Michael A. Heilman
                                              Michael A. Heilman
                                              COUNSEL FOR PLAINTIFFS AND
                                              COUNTER-DEFENDANTS


OF COUNSEL:
Michael A. Akers (AL Bar No. 4331-R74M)
AKERS LAW GROUP, PLLC
P.O. Box 280
Brandon, Mississippi 39043
mikeakers@akerslawgroup.com

Michael A. Heilman (admitted pro hac vice)
John W. Nisbett (admitted pro hac vice)
HEILMAN LAW GROUP, P. A.
Meadowbrook Office Park
4266 I-55 North, Suite 106
Jackson, Mississippi 39211
Telephone: (601) 914.1025
Facsimile: (601) 960-4200
mheilman@heilmanlawgroup.com
jnisbett@heilmanlawgroup.com




                                         3
       Case 5:15-cv-02207-MHH Document 155 Filed 10/29/18 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I certify that I electronically filed the foregoing with the Clerk of the Court

using the ECF system, which sent notification to all counsel of record.

      This the 29th day of October, 2018.


                                               /s/ Michael A. Heilman
                                               Michael A. Heilman




                                         4
